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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

   IN RE: ZANTAC (RANITIDINE)                                                               MDL NO 2924
   PRODUCTS LIABILITY                                                                        20-MD-2924
   LITIGATION
                                                              JUDGE ROBIN L ROSENBERG
                                                      MAGISTRATE JUDGE BRUCE REINHART
   __________________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                     AGREED ORDER GRANTING UNOPPOSED
             MOTION TO DROP VITAMIN SHOPPE INDUSTRIES, LLC F/K/A
           VITAMIN SHOPPE INDUSTRIES, INC. FROM MASTER COMPLAINTS

          THIS CAUSE came before the Court on Plaintiffs’ Co-Lead Counsel’s Unopposed

   Motion to Drop Vitamin Shoppe Industries, LLC f/k/a Vitamin Shoppe Industries, Inc. from

   Master Complaints [DE # 1719], without prejudice, pursuant to Pretrial Order # 40 [DE # 1498]

   and Federal Rule of Civil Procedure 21. 1 Having reviewed the Unopposed Motion, and being

   otherwise fully advised in the premises, it is hereby ORDERED and ADJUDGED that the

   Unopposed Motion is GRANTED. Defendant Vitamin Shoppe Industries, LLC f/k/a Vitamin

   Shoppe Industries, Inc. is dropped, without prejudice, from the following Master Complaints:

          1.      Master Personal Injury Complaint [DE # 887] at ¶ 197.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 10th day of

   September, 2020.


                                                    ROBIN L. ROSENBERG
                                                    UNITED STATES DISTRICT JUDGE




    1
      “Master Complaints” refers collectively to the Master Personal Injury Complaint [DE # 887], Consolidated
    Consumer Class Action Complaint [DE # 889], and Third-Party Payor Class Complaint [DE # 888]. Pursuant to
    Pretrial Order # 40, the specific paragraph number in the corresponding Master Complaint affected by the
    modification are identified herein.
